Case 1:25-cv-22896-JEM Document 24-3 Entered on FLSD Docket 07/03/2025 Page 1 of 14




                                MEMORANDUM OF AGREEMENT

   This Memorandum of Agreement (MOA) constitutes an agreement between United States
   Immigration and Customs Enforcement (ICE), a component of the Department of Homeland
   Security (DHS), and the Florida National Guard (FLNG) , pursuant to which ICE delegates to
   nominated, trained, and certified officers or employees ofthe FLNG (hereinafter interchangeably
   referred to as "Law Enforcement Agency" (LEA)), to perform certain immigration enforcement
   functions as specified herein. The LEA represents        the Florida National Guard (FLNG) in the
   implementation and administration of this MOA. The Florida National Guard (FLNG) and ICE
   enter into this MOA in good faith and agree to abide by the terms and conditions contained herein.
   The ICE and LEA points of contact for purposes ofthis MOA are identified in Appendix A.

   I.         PURPOSE

   The purpose of this MOA is to set forth the terms and conditions pursuant to which selected LEA
   personnel (participating LEA personnel) will be nominated, trained, and thereafter be approved by
   ICE to perform certain functions of an immigration officer under the direction and supervision of
   ICE within the LEA's jurisdiction. This MOA sets forth the scope of the immigration officer
   functions that OHS is authorizing the participating LEA personnel to perform. Nothing contained
   herein shall otherwise limit the jurisdiction and powers normally possessed by participating LEA
   personnel as members ofthe LEA. However, the exercise ofthe immigration enforcement authority
   granted under this MOA to participating LEA personnel shall occur only as provided in this MOA.
   This MOA also describes the complaint procedures available to members of the public regarding
   immigration enforcement actions taken pursuant to this agreement by participating LEA personnel.

   II.        AUTHORITY

   Section 287(g) of the Immigration and Nationality Act (INA), codified at 8 U.S.C. § 1357(g), as
   amended by the Homeland Security Act of 2002, Public Law 107-276, authorizes the Secretary of
   Homeland Security, or her designee, to enter into written agreements with a State or any political
   subdivision of a State so that qualified officers and employees can perform certain functions of an
   immigration officer. This MOA constitutes such a written agreement.

   III.       POLICY

   This MOA sets forth the scope of the immigration officer functions that DHS is authorizing the
   participating LEA personnel to perform. It sets forth with specificity the duration of the authority
   conveyed and the specific lines of authority, including the requirement that participating LEA
   personnel be subject to ICE direction and supervision while performing delegated immigration
   officer funct ions pursuant to this MOA. For the purposes of this MOA, ICE officers will provide
   direction and supervision for participating LEA personnel only as to immigration enforcement
   functions as authorized in this MOA. The LEA retains supervision of all other aspects of the
   employment and performance of duties of participating LEA personnel.




                                                                                       Revised 02/12/2025



                                                                                               Exhibit C
Case 1:25-cv-22896-JEM Document 24-3 Entered on FLSD Docket 07/03/2025 Page 2 of 14




   IV.           TRAINING AND ASSIGNMENTS

   Before participating LEA personnel receive authorization to perform immigration officer functions
   granted under this MOA, they must successfully complete mandatory training on relevant
   administrative, legal, and operational issues tailored to the immigration enforcement functions to be
   performed as provided by ICE instructors and thereafter pass examinations equivalent to those given
   to ICE officers. The mandatory training may be made available to the LEA in both in-person and
   online, recorded or virtual-meeting formats, as determined by ICE. Only participating LEA
   personnel who are nominated, trained, certified, and authorized, as set out herein, have authority
   pursuant to this MOA to conduct the delegated immigration officer functions, under ICE direction
   and supervision, enumerated in this MOA.

   Upon the LEA's agreement, participating LEA personnel performing immigration-related duties
   pursuant to this MOA will be assigned to various units, teams, or task forces designated by ICE.

  V.            DESIGNATION OF AUTHORIZED FUNCTIONS

   For the purposes ofthis MOA, participating LEA personnel are authorized to perform the following
   functions pursuant to the stated authorities, subject to the limitations contained in this MOA:

         •   The power and authority to interrogate any alien or person believed to be an alien as to his
             right to be or remain in the United States (INA§ 287(a)(l) and 8 C.F.R. § 287.S(a)(l)) and
             to process for immigration violations those individuals who have been arrested for State or
             Federal criminal offenses.

         •   The power and authority to arrest without a warrant any alien entering or attempting to
             unlawfully enter the United States in the officer's presence or view, or any alien in the United
             States, if the officer has reason to believe the alien to be arrested is in the United States in
             violation of law and is likely to escape before a warrant can be obtained. INA § 287(a)(2)
             and 8 C.F.R. § 287.5(c)(l). Subsequent to such arrest, the arresting officer must take the
             alien without unnecessary delay for examination before an immigration officer having
             authority to examine aliens as to their right to enter or remain in the United States.

         •   The power to arrest without warrant for felonies which have been committed and which are
             cognizable under any law of the United States regulating the admission, exclusion,
             expulsion, or removal of aliens, ifthe officer has reason to believe the alien to be arrested is
             in the United States in violation of law and is likely to escape before a warrant can be
             obtained. INA§ 287(a)(4) and 8 C.F.R. § 287.5(c)(2).

         •   The power to serve and execute warrants of arrest for immigration violations under INA §
             287(a) and 8 C.F.R. § 287.5(e)(3).

         •   The power and authority to administer oaths and to take and consider evidence (INA§ 287(b)
             and 8 C.F.R. § 287.5(a)(2)) to complete required alien processing to include fingerprinting,
             photographing, and interviewing, as well as the preparation of affidavits and the taking of
                                                                                             Revised 02/12/2025



                                                                                                     Exhibit C
Case 1:25-cv-22896-JEM Document 24-3 Entered on FLSD Docket 07/03/2025 Page 3 of 14




             sworn statements for ICE supervisory review.

         •   The power and authority to prepare charging documents (INA § 239, 8 C.F.R. § 239.1; INA
             § 238, 8 C.F.R § 238.1; INA§ 241(a)(5), 8 C.F.R § 241.8; INA§ 235(b)(l), 8 C.F.R. § 235.3)
             including the preparation of the Notice to Appear (NTA) or other charging document, as
             appropriate, for the signature of an ICE officer for aliens in categories established by ICE
             supervisors.

         •   The power and authority to issue immigration detainers (8 C.F .R. § 287.7) and 1-213, Record
             of Deportable/Inadmissible Alien, for aliens in categories established by ICE supervisors.

         •   The power and authority to take and maintain custody of aliens arrested by ICE, or another
             State or local law enforcement agency on behalf of ICE. 8 C.F .R. § 287 .5(c)(6)

         •   The power and authority to take and maintain custody of aliens arrested pursuant to the
             immigration laws and transport (8 C.F.R. § 287.5(c)(6)) such aliens to ICE-approved
             detention facilities.

   VI.           RESOLUTION OF LOCAL CHARGES

   The LEA is expected to pursue to completion prosecution of any state or local charges that caused
   the alien to be taken into custody. ICE may assume custody of aliens who have been convicted of a
   state or local offense only after such aliens have concluded service of any sentence of incarceration.
   The ICE Enforcement and Removal Operations Field Office Director or designee shall assess on a
   case-by-case basis the appropriate actions for aliens who do not meet the above criteria based on
   special interests or other circumstances after processing by the LEA.

   After notification to and coordination with the ICE supervisor the alien who participating LEA
   personnel have determined to be a removable alien, the alien will be arrested on behalf of ICE by
   participating LEA personnel and be transported by the LEA on the same day to the relevant ICE
   detention office or facility.

   VII.         NOMINATION OF PERSONNEL

   The chief officer ofthe LEA will nominate candidates for initial training and certification under
   this MOA. For each candidate, ICE may request any information necessary for a background
   check and to evaluate a candidate's suitability to participate in the enforcement of immigration
   authorities under this MOA. All candidates must be United States citizens. All candidates must
   have at least two years of LEA work experience. All candidates must be approved by ICE
   and must be able to qualify for appropriate federal security clearances and access to appropriate
   OHS and ICE databases/systems and associated applications.

   Should a candidate not be approved, a substitute candidate may be submitted if time permits such
   substitution to occur without delaying the start of training. Any subsequent expansion in the
   number of participating LEA personnel or scheduling ofadditional training classes may be based
   on an oral agreement of the parties but will be subject to all the requirements of this MOA.
                                                                                         Revised 02/12/2025



                                                                                                 Exhibit C
Case 1:25-cv-22896-JEM Document 24-3 Entered on FLSD Docket 07/03/2025 Page 4 of 14




   VIII.      TRAINING OF PERSONNEL

   ICE will provide participating LEA personnel with the mandatory training tailored to the
   immigration functions to be performed. The mandatory training may be made available to the LEA
   in both in-person and online, recorded or virtual-meeting formats, as determined by ICE.

   Training will include, among other things: (i) discussion of the terms and limitations of this MOA;
   (ii) the scope of immigration officer authority; (iii) relevant immigration law; (iv) the ICE Use of
   Force Policy; (v) civil rights laws (vi) the detention of aliens; (vii) public outreach and complaint
   procedures; (viii) liability issues; (ix) cross-cultural issues; and (x) the obligations under federal law,
   including applicable treaties or international agreements, to make proper notification upon the arrest
   or detention of a foreign national.

   Approximately one year after the participating LEA personnel are trained and certified, ICE may
   provide additional updated training on relevant administrative, legal, and operational issues related
   to the performance of immigration officer functions, unless either party terminates this MOA
   pursuant to Section XVIII below. Local training on relevant issues will be provided on an ongoing
   basis by ICE supervisors or a designated team leader.

   IX.       CERTIFICATION AND AUTHORIZATION

   ICE will certify in writing the names of those LEA personnel who successfully complete training
   and pass all required testing. Upon receipt of the certification, ICE will provide the participating
   LEA personnel with a signed authorization to perform specified functions of an immigration officer
   for an initial period of two years from the date of the authorization. ICE will also provide a copy of
   the authorization to the LEA. The ICE supervisory officer, or designated team leader, will evaluate
   the activities of all personnel certified under this MOA.

   Authorization of participating LEA personnel to act pursuant to this MOA may be revoked at any
   time and for any reason by ICE or the LEA. Such revocation will require notification to the other
   party to this MOA within 48 hours. The chief officer of the LEA and ICE will be responsible for
   notification of the appropriate personnel in their respective agencies. The termination of this MOA,
   pursuant to Section XVIII below, shall constitute revocation of all immigration enforcement
   authorizations delegated herein.

   X.        COSTS AND EXPENDITURES

   Participating LEA personnel will carry out designated functions at the LEA's expense, including
   salaries and benefits, local transportation, and official issue material. Whether or not the LEA
   receives financial reimbursement for such costs through a federal grant or other funding mechanism
   is not material to this MOA.

   ICE is responsible for the installation and maintenance of the Information Technology (IT)
   infrastructure. The use of the IT infrastructure and the OHS/ICE IT security policies are
   defined in the Interconnection Security Agreement (ISA). The ISA is the agreement between
   ICE's Chieflnformation Security Officer and the LEA's Designated Accreditation Authority.
                                                                                             Revised 02/12/2025



                                                                                                     Exhibit C
Case 1:25-cv-22896-JEM Document 24-3 Entered on FLSD Docket 07/03/2025 Page 5 of 14




   The LEA agrees that each of its sites using an ICE-provided network access or equipment
   will sign the ISA, which defines the DHS ICE 4300A Sensitive System Policy and Rules of
   Behavior for each user granted access to the DHS network and software applications. Failure
   to adhere to the terms of the ISA could result in the loss of all user privileges.

   The LEA is responsible for personnel expenses, including, but not limited to, salaries and
   benefits, local transportation, and official issue material used in the execution of the LEA' s
   mission. ICE will provide instructors and training materials. The LEA is responsible for the
   salaries and benefits, including any overtime, of all its personnel being trained or performing
   duties under this MOA and of those personnel performing the regular functions of the
   participating LEA personnel while they are receiving training. ICE is responsible for the costs
   ofthe LEA personnel's travel expenses while in a training status, as authorized by the Federal
   Travel Regulation and the ICE Travel Handbook. These expenses include housing, per diem
   and all transportation costs associated with getting to and from training. ICE is responsible
   for the salaries and benefits of all ICE personnel, including instructors and supervisors.

   The LEA is responsible for providing all administrative supplies (e.g. paper, printer toner)
   necessary for normal office operations. The LEA is also responsible for providing the
   necessary security equipment, such as handcuffs, leg restraints, etc.

   XI.       ICE SUPERVISION

   Immigration enforcement activities conducted by participating LEA personnel will be supervised
   and directed by ICE. Participating LEA personnel are not authorized to perfonn immigration
   officer functions except when working under the supervision or direction of ICE.

   When operating in the field, participating LEA personnel shall contact an ICE supervisor at the
   time ofexercising the authority in this MOA, or as soon as is practicable thereafter, for guidance.
   The actions of participating LEA personnel will be reviewed by the ICE supervisory officers
   on an ongoing basis to ensure compliance with the requirements of the immigration laws and
   procedures and to assess the need for additional training or guidance for that specific individual.

   For the purposes of this MOA, ICE officers will provide supervision of participating LEA
   personnel only as to immigration enforcement functions. The LEA retains supervision of all
   other aspects of the employment of and performance of duties by participating LEA
   personnel.

   In the absence of a written agreement to the contrary, the policies and procedures to be utilized
   by the participating LEA personnel in exercising these authorities shall be DHS and ICE policies
   and procedures, including the ICE Use of Force Policy. However, when engaged in immigration
   enforcement activities, no participating LEA personnel will be expected or required to violate or
   otherwise fail to maintain the LEA 's rules, standards, or policies, or be required to fail to abide
   by restrictions or limitations as may otherwise be imposed by law unless doing so would violate
   federal law.

                                                                                         Revised 02/12/2025



                                                                                                 Exhibit C
Case 1:25-cv-22896-JEM Document 24-3 Entered on FLSD Docket 07/03/2025 Page 6 of 14




   If a conflict arises between an order or direction of an ICE supervisory officer and LEA rules,
   standards, or policies, the conflict shall be promptly reported to ICE, and the chief officer of the
   LEA, or designee, when circumstances safely allow the concern to be raised. ICE and the chief
   officer of the LEA shall attempt to resolve the conflict.

   Whenever possible, the LEA will deconflict all addresses, telephone numbers, and known or
   suspected identities of violators of the INA with ICE's Homeland Security Investigations or ICE's
   Enforcement and Removal Operations prior to taking any enforcement action. This deconfliction
   will, at a minimum include wants/warrants, criminal history, and a person's address, and vehicle
   check through TECS II or any successor system.

   LEA participating personnel authorized pursuant to this MOA may be assigned and/or co­
   located with ICE as task force officers to assist ICE with criminal investigations.

   XII.      REPORTING REQUIREMENTS

   The LEA will be responsible for tracking and maintaining accurate data and statistical information
   for their 287(g) program, including any specific tracking data requested by ICE. Upon ICE's
   request, such data and information shall be provided to ICE for comparison and verification with
   ICE's own data and statistical information, as well as for ICE's statistical reporting requirements
   and to assess the progress and success of the LEA's 287(g) program.


   XIII.     RELEASE OF INFORMATION TO THIRD PARTIES

   The LEA may, at its discretion, communicate the substance of this agreement to the media and
   other parties expressing an interest in the law enforcement activities to be engaged in under this
   MOA. It is the practice of ICE to provide a copy of this MOA, only after it has been signed, to
   requesting media outlets; the LEA is authorized to do the same.

   The LEA hereby agrees to coordinate with ICE prior to releasing any information relating to, or
   exchanged under, this MOA. For releases of information to the media, the LEA must coordinate
   in advance of release with the ICE Office of Public Affairs, which will consult with ICE Privacy
   Office for approval prior to any release. The points ofcontact for ICE and the LEA for this purpose
   are identified in Appendix C. For releases of information to all other parties, the LEA must
   coordinate in advance of release with the FOD or the FOD's representative.

   Information obtained or developed as a result of this MOA, including any documents created by
   the LEA that contain information developed or obtained as a result of this MOA, is under the
   control ofICE and shall not be disclosed unless: 1) permitted by applicable laws, regulations, or
   executive orders; and 2) the LEA has coordinated in advance ofrelease with (a) the ICE Office of
   Public Affairs, which will consult the ICE Privacy Office for approval, prior to any release to the
   media, or (b) an ICE officer prior to releases to all other parties. LEA questions regarding the
   applicability of this section to requests for release of information shall be directed to an ICE
   officer.
                                                                                        Revised 02/12/2025



                                                                                                Exhibit C
Case 1:25-cv-22896-JEM Document 24-3 Entered on FLSD Docket 07/03/2025 Page 7 of 14




   Nothing herein limits LEA's compliance with state public records laws regarding those records
   that are solely state records and not ICE records.

   The points of contact for ICE and the LEA for the above purposes are identified in Appendix C.

   XIV.      LIABILITY AND RESPONSIBILITY

   Except as otherwise noted in this MOA or allowed by federal law, and to the extent required by
   8 U.S.C. § 1357(g)(7) and (8), the LEA will be responsible and bear the costs of participating
   LEA personnel regarding their property or personal expenses incurred by reason of death, injury,
   or incidents giving rise to liability.

   Participating LEA personnel will be treated as Federal employees for purposes ofthe Federal Tort
   Claims Act, 28 U.S.C. § 1346(b)(l), 2671-2680, and worker's compensation claims, 5 U.S.C.
   § 8101 et seq., when performing a function on behalf oflCE as authorized by this MOA. See 8
   U.S.C. § 1357(g)(7); 28 U.S.C. § 2671. In addition, it is the understanding of the parties to this
   MOA that participating LEA personnel performing a function on behalfof ICE authorized by this
   MOA will be considered acting under color of federal authority for purposes of determining
   liability and immunity from suit under federal or state law. See 8 U.S.C. § 1357(g)(8).

   Participating LEA personnel named as personal-capacity defendants in litigation arising from
   activities carried out under this MOA may request representation by the U.S. Department of
   Justice. See 28 C.F.R. § 50.15. Absent exceptional circumstances, such requests must be made in
   writing. LEA personnel who wish to submit a request for representation shall notify the local ICE
   Office of the Principal Legal Advisor (OPLA) field location at ADDRESS. OPLA, through its
   headquarters, will assist LEA personnel with the request for representation, including the
   appropriate forms and instructions. Unless OPLA concludes that representation clearly is
   unwarranted, it will forward the request for representation, any supporting documentation, and an
   advisory statement opining whether: 1) the requesting individual was acting within the scope of
   his/her authority under 8 U.S.C. § 1357(g) and this MOA; and, 2) such representation would be
   in the interest of the United States, to the Director of the Constitutional and Specialized Tort
   Litigation Section, Civil Division, Department of Justice (DOJ). Representation is granted at the
   discretion ofDOJ; it is not an entitlement. See 28 C.F.R. § 50.15.

   The LEA agrees to cooperate with any federal investigation related to this MOA to the full extent
   of its available powers, including providing access to appropriate databases, personnel,
   individuals in custody and documents. Failure to do so may result in the termination ofthis MOA.
   Failure of any participating LEA employee to cooperate in any federal investigation related to
   this MOA may result in revocation of such individual's authority provided under this MOA. The
   LEA agrees to cooperate with federal personnel conducting reviews to ensure compliance with
   the terms of this MOA and to provide access to appropriate databases, personnel, and documents
   necessary to complete such compliance review. It is understood that information provided by any
   LEA personnel under threat of disciplinary action in an administrative investigation cannot be
   used against that individual in subsequent criminal proceedings, consistent with Garrity v. New
   Jersey, 385 U.S. 493 (1967), and its progeny.
                                                                                       Revised 02/12/2025



                                                                                               Exhibit C
Case 1:25-cv-22896-JEM Document 24-3 Entered on FLSD Docket 07/03/2025 Page 8 of 14




   As the activities of participating LEA personnel under this MOA derive from federal authority,
   the participating LEA personnel will comply with federal standards relating to the Supreme
   Court's decision in Giglio v. United States, 405 U.S. 150 (1972), and its progeny, which govern
   the disclosure of potential impeachment information about possible witnesses or affiants in a
   criminal case or investigation.

   The LEA and ICE are each responsible for compliance with the Privacy Act of 1974, 5 U.S.C.
   § 552a, DHS Privacy Act regulations, 6 C.F.R. §§ 5.20-5.36, as applicable, and related system of
   records notices regarding data collection and use of information under this MOA.

   XV.       COMPLAINT PROCEDURES

   The complaint reporting and resolution procedure for allegations of misconduct by participating
   LEA personnel, regarding activities undertaken under the authority of this MOA, is included at
   AppendixB.

   XVI.      CIVIL RIGHTS STANDARDS

   Participating LEA personnel who perform certain federal immigration enforcement functions are
   bound by all applicable federal civil rights statutes and regulations.

   Participating LEA personnel will provide an opportunity for subjects with limited English
   language proficiency to request an interpreter. Qualified foreign language interpreters will be
   provided by the LEA as needed.

   XVII.     MODIFICATION OF THIS MOA

   Modifications of this MOA must be proposed in writing and approved by the signatories.

   XVIII.      EFFECTIVE DATE, SUSPENSION, AND TERMINATION OF THIS MOA

   This MOA becomes effective upon signature of both parties and will remain in effect until either
   party terminates or suspends the MOA. Termination by the LEA shall be provided, in writing, to
   the local Field Office.

   In instances where serious misconduct or violations of the terms of the MOA come to the attention
   ofICE, the ICE Director may, upon recommendation of the Executive Associate Director for
   Enforcement and Removal Operations, elect to immediately suspend the MOA pending
   investigation of the misconduct and/or violations.

   Notice of the suspension will be provided to the LEA, and the notice will include, at a minimum,
   (1) an overview of the reason(s) that ICE is suspending the 287(g) agreement, (2) the length of the
   temporary suspension, and (3) how the LEA can provide ICE with information regarding the alleged
   misconduct and/or violations, as well as any corrective measures it has undertaken.


                                                                                      Revised 02/12/2025



                                                                                              Exhibit C
Case 1:25-cv-22896-JEM Document 24-3 Entered on FLSD Docket 07/03/2025 Page 9 of 14




   ICE shall provide the LEA with a reasonable opportunity to respond to the alleged misconduct
   and/or violations and to take actions to implement corrective measures (e.g., replace the officer(s)
   who are the focus of the allegations). ICE will provide the LEA timely notice of a suspension being
   extended or vacated.

   If the LEA is working to take corrective measures, ICE will generally not terminate an agreement.
   The termination of an agreement is generally reserved in instances involving problems that are
   unresolvable and detrimental to the 287(g) Program.

   If ICE decides to move from suspension to termination, ICE will provide the LEA a 90-day notice
   in advance of the partnership being terminated. The notice will include, at a minimum: (1) An
   overview of the reason(s) that ICE seeks to terminate the 287(g) agreement; (2) All available data
   on the total number of aliens identified under the 287(g) agreement; and (3) Examples of egregious
   criminal aliens identified under the 287(g) agreement. ICE's decision to terminate a MOA will be
   published on ICE's website 90 days in advance of the MOA's termination.

   This MOA does not, is not intended to, shall not be construed to, and may not be relied upon to
   create any rights, substantive or procedural, enforceable at law by any person in any matter, civil or
   criminal.
   By signing this MOA, each party represents it is fully authorized to enter into this MOA, accepts
   the terms, responsibilities, obligations, and limitations ofthis MOA, and agrees to be bound thereto
   to the fullest extent allowed by law.


   For the LEA:                                          For ICE:


                                                         Date: April 2, 2025
                                                                                          ----:~ - -
                                                         Signa._tu_r_e_:_~- - --- -----=L -5'-


   Title: The Adjutant General                           Title:_ _ Acting
                                                                   _ _ _Director
                                                                          _ _ _ _ _ _ _ __




                                                                                         Revised 02/12/2025



                                                                                                Exhibit C
Case 1:25-cv-22896-JEM Document 24-3 Entered on FLSD Docket 07/03/2025 Page 10 of 14




                                           APPENDIX A

                                      POINTS OF CONTACT

       The ICE and LEA points of contact for purposes of implementation of this MOA are:


       For ICE:        Department of Homeland Security
                       Immigration and Customs Enforcement
                       Enforcement and Removal Operations
                       Assistant Director for Enforcement Washington DC


                       The Adjutant General, MG John Haas, john.d.haas.mil@army.mil
       For the LEA:

                       State Aviation Officer, COL Brett Rhodenizer, brett.s.rhodenizer.mil@army.mil

                       General Counsel, Col Jeffrey Pozen, jeffrey.m.pozen.mil@arrny.mil




                                                                                 Revised 02/12/2025




                                                                                        Exhibit C
Case 1:25-cv-22896-JEM Document 24-3 Entered on FLSD Docket 07/03/2025 Page 11 of 14




                                              APPENDIXB

                                      COMPLAINT PROCEDURE

       This MOA is an agreement between ICE and the                                     , hereinafter
       referred to as the "Law Enforcement Agency" (LEA), in which selected LEA personnel
       are authorized to perform immigration enforcement duties in specific situations under federal
       authority. As such, the training, supervision, and performance ofparticipating LEA personnel
       pursuant to the MOA, as well as the protections for individuals' civil and constitutional
       rights, are to be monitored. Part of that monitoring will be accomplished through these
       complaint reporting and resolution procedures, which the parties to the MOA have agreed
       to follow.

       If any participating LEA personnel are the subject of a complaint or allegation involving the
       violation of the terms of this MOA the LEA shall, to the extent allowed by state law, make
       timely notification to ICE.

       Further, if the LEA is aware of a complaint or allegation of any sort that may result in that
       individual receiving professional discipline or becoming the subject of a criminal
       investigation or civil lawsuit, the LEA shall remove the designated LEA personnel from the
       program, until such time that the LEA has adjudicated the allegation.

       The LEA will handle complaints filed against LEA personnel who are not designated and
       certified pursuant to this MOA but are acting in immigration functions in violation of this
       MOA. Any such complaints regarding non-designated LEA personnel acting in immigration
       functions must be forwarded to the ICE Office of Professional Responsibility (OPR) at
       ICEOPRlntake@ice.dhs.gov.

       1. Complaint Reporting Procedures

      Complaint reporting procedures shall be disseminated as appropriate by the LEA within
      facilities under its jurisdiction (in English and other languages as appropriate) in order to
      ensure that individuals are aware of the availability of such procedures. Complaints will be
      accepted from any source (e.g., ICE, LEA, participating LEA personnel, inmates, and the
      public).

      Complaints may be reported to federal authorities as follows:

              A.     Telephonically to the ICE OPR at the toll-free number l-833-4ICE-OPR; or

              B.     Via email at ICEOPRintake@ice.dhs.gov.

       Complaints may also be referred to and accepted by any of the following LEA entities:

              A.     The LEA Internal Affairs Division; or
              B.     The supervisor of any participating LEA personnel.
                                                                                       Revised 02/12/2025



                                                                                               Exhibit C
Case 1:25-cv-22896-JEM Document 24-3 Entered on FLSD Docket 07/03/2025 Page 12 of 14




       2. Review of Complaints

       All complaints (written or oral) reported to the LEA directly, which involve activities
       connected to immigration enforcement activities authorized under this MOA, will be
       reported to the ICE OPR. The ICE OPR will verify participating personnel status under
       the MOA with the assistance of ICE. Complaints received by any ICE entity will be
       reported directly to the ICE OPR as per existing ICE policies and procedures.

        In all instances, the ICE OPR, as appropriate, will make an initial determination regarding
       DHS investigative jurisdiction and refer the complaint to the appropriate office for action as
       soon as possible, given the nature of the complaint.
       Complaints reported directly to the ICE OPR will be shared with the LEA's Internal Affairs
       Division when the complaint involves LEA personnel. Both offices will then coordinate
       appropriate investigative jurisdiction, which may include initiation of a joint investigation to
       resolve the issue(s).

       3. Complaint Resolution Procedures

      Upon receipt of any complaint the ICE OPR will undertake a complete review of each
      complaint in accordance with existing ICE allegation criteria and reporting requirements. As
      stated above the ICE OPR will adhere to existing ICE reporting requirements as they relate
      to the OHS OIG and/or another legally required entity. Complaints will be resolved using
      the existing procedures, supplemented as follows:

            A. Referral of Complaints to LEA Internal Affairs Division.

            The ICE OPR will refer complaints, as appropriate, involving LEA personnel to the
            LEA's Internal Affairs Division for resolution. The Internal Affairs Division
            Commander will inform ICE OPR ofthe disposition and resolution of any complaints
            referred by ICE OPR.

            B. Interim Action Pending Complaint Resolution

            Whenever any participating LEA personnel are under investigation and subject to
            interrogation by the LEA for any reason that could lead to disciplinary action, demotion,
            or dismissal, the policy requirements of the LEA shall he honored. If appropriate,
            an individual may he removed from participation in the activities covered under the
            MOA pending resolution of an inquiry.

            C. Time Parameters for Resolution of Complaints

            It is expected that any complaint received will be resolved within 90 days. However,
            this will depend upon the nature and complexity of the substance of the complaint
            itself.

                                                                                        Revised 02/12/2025



                                                                                                Exhibit C
Case 1:25-cv-22896-JEM Document 24-3 Entered on FLSD Docket 07/03/2025 Page 13 of 14




           D. Notification of Resolution of a Complaint

          ICE OPR will coordinate with the LEA's Internal Affairs Division to ensure notification
          as appropriate to the subject(s) of a complaint regarding the resolution of the
          complaint.




                                                                                    Revised 02/12/2025



                                                                                           Exhibit C
Case 1:25-cv-22896-JEM Document 24-3 Entered on FLSD Docket 07/03/2025 Page 14 of 14




                                          APPENDIXC

                     PUBLIC INFORMATION POINTS OF CONTACT

               Pursuant to Section XIII of this MOA, the signatories agree to coordinate any
               release of information to the media regarding actions taken under this MOA.
               The points of contact for coordinating such activities are:


               For the LEA:
               Executive Officer, COL (Ret) Allison Reinwald, allison.reinwald2.nfg@army.mil

               Public Affairs Officer, Lt Col Caitlin Brown, mary.c.brown26.mil@army.mil




              For ICE:


               Department of Homeland Security
               Immigration and Customs Enforcement
               Office of Public Affairs




                                                                               Revised 02/12/2025




                                                                                      Exhibit C
